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Michael S, Kopelman, Esq. (MK 6104)
                                            UNITED STATES BANKRUPTCY COURT
In Re:                                      DISTRICT OF NEW JERSEY

JOHN PATRICK O’GRADY,                           CHAPTER 11

                         Debtor.                CASE NO. 19-19513-JKS



                              AMENDED
                   DESIGNATION OF RECORD ON APPEAL
                COMBINED WITH STATEMENT OF THE ISSUES
                  PURSUANT TO BANKRUPRTCY RULE 8009

A. DESIGNATION OF RECORD ON APPEAL in Case No. 19-19513

 Filing Date    #                                  Docket Text

06/02/2021     221    Motion to Approve Compromise under Rule 9019 Filed by John
                      Sywilok on behalf of John Sywilok. Hearing scheduled for 7/13/2021
                      at 10:00 AM at JKS – Courtroom 3D, Newark. (Attachments: # 1
                      Certification # 2 Exhibit # 3 Proposed Order # 4 Certificate of Service)
                      (Sywilok, John) (Entered: 06/02/2021)
06/03/2021     222    Document re: Letter (related document: 221 Motion to Approve
                      Compromise under Rule 9019 filed by Trustee John Sywilok) filed by
                      Michael S. Kopelman on behalf of Kopelman & Kopelman LLP.
                      (Attachments: # 1 Exhibit A) (Kopelman, Michael) (Entered:
                      06/03/2021)
07/13/2021     227    Objection to Trustee’s motion to approve settlement (related document:
                      221 Motion to Approve Compromise under Rule 9019 Filed by John
                      Sywilok on behalf of John Sywilok. Hearing scheduled for 7/13/2021
                      at 10:00 AM at JKS – Courtroom 3D, Newark. (Attachments: # 1
                      Certification # 2 Exhibit # 3 Proposed Order # 4 Certificate of Service)
                      filed by Trustee John Sywilok) filed by Michael S. Kopelman on behalf
                      of Kopelman & Kopelman LLP. (Attachments: # 1 Exhibit A)
                      (Kopelman, Michael) (Entered: 07/13/2021)
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07/13/2021    228    Certification of Service (related document: 227 Objection filed by
                     Attorney Kopelman & Kopelman LLP) filed by Michael S. Kopelman
                     on behalf of Kopelman & Kopelman LLP. (Kopelman, Michael)
                     Entered: 07/13/2021)
07/14/2021    229    Document re: Letter re: Errata (related document: 227 Objection filed
                     by Attorney Kopelman & Kopelman LLP) filed by Michael S.
                     Kopelman on behalf of Kopelman & Kopelman LLP. (Kopelman,
                     Michael) (Entered: 07/14/2021)
07/14/2021    230    Certification of Service (related document: 229 Document filed by
                     Attorney Kopelman & Kopelman LLP) filed by Michael S. Kopelman
                     on behalf of Kopelman & Kopelman LLP. (Kopelman, Michael)
                     Entered: 07/14/2021)
07/15/2021    231    Response to (related document: 221 Motion to Approve Compromise
                     under Rule 9019 Filed by John Sywilok on behalf of John Sywilok.
                     Hearing scheduled for 7/13/2021 at 10:00 AM at JKS – Courtroom 3D,
                     Newark. (Attachments: # 1 Certification # 2 Exhibit # 3 Proposed
                     Order # 4 Certificate of Service) filed by Trustee John Sywilok) filed
                     by John Sywilok on behalf of John Sywilok. (Sywilok, John) (Entered:
                     07/15/2021)
07/16/2021    232    Response to (related document: 225 Brief in Opposition to Motion
                     (related document: 221 Motion to Approve Compromise under Rule
                     9019 Filed by John Sywilok on behalf of John Sywilok. Hearing
                     scheduled for 7/13/2021 at 10:00 AM at JKS – Courtroom 3D,
                     Newark. (Attachments: # 1 Certification # 2 Exhibit # 3 Proposed
                     Order # 4 Certificate of Service) filed by Trustee John Sywilok) filed
                     by James French on behalf of TIAA, FSB, TIAA, FSB. (Attachments:
                     # 1 Exhibit Exhibits # 2 Exhibit Exhibits) filed by Creditor TIAA, FSB,
                     Creditor TIAA, FSB, Creditor TIAA, FSB, 227 Objection to Trustee’s
                     motion to approve settlement (related document: 221 Motion to
                     Approve Compromise under Rule 9019 Filed by John Sywilok on
                     behalf of John Sywilok. Hearing scheduled for 7/13/2021 at 10:00 AM
                     at JKS – Courtroom 3D, Newark. (Attachments: # 1 Certification # 2
                     Exhibit # 3 Proposed Order # 4 Certificate of Service) filed by Trustee
                     John Sywilok) filed by Michael S. Kopelman on behalf of Kopelman &
                     Kopelman LLP. (Attachments: # 1 Exhibit A) filed by Attorney
                     Kopelman & Kopelman LLP) filed by Scott S. Rever on behalf of
                     Barry Roy Donaldson. (Attachments: # 1 Exhibit A) (Rever, Scott)
                     (Entered: 07/16/2021)
07/16/2021    233    Response to (related document: 231 Response to (related document:
                     221 Motion to Approve Compromise under Rule 9019 Filed by John
                     Sywilok on behalf of John Sywilok. Hearing scheduled for 7/13/2021
                     at 10:00 AM at JKS – Courtroom 3D, Newark. (Attachments: # 1
                     Certification # 2 Exhibit # 3 Proposed Order # 4 Certificate of Service)
                     filed by Trustee John Sywilok) filed by John Sywilok on behalf of John
                     Sywilok) filed by Michael S. Kopelman on behalf of Kopelman &
                     Kopelman LLP. (Attachments # 1 Exhibit A # 2 Exhibit B) (Kopelman,

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                     Michael) (Entered: 07/16/2021)
07/16/2021    234    Response to (related document: 231 Response to (related document:
                     221 Motion to Approve Compromise under Rule 9019 Filed by John
                     Sywilok on behalf of John Sywilok. Hearing scheduled for 7/13/2021
                     at 10:00 AM at JKS – Courtroom 3D, Newark. (Attachments: # 1
                     Certification # 2 Exhibit # 3 Proposed Order # 4 Certificate of Service)
                     filed by Trustee John Sywilok) filed by John Sywilok on behalf of John
                     Sywilok. Filed by Trustee John Sywilok, 232 Response to (related
                     document: 225 Brief in Opposition to Motion (related document: 221
                     Motion to Approve Compromise under Rule 9019 Filed by John
                     Sywilok on behalf of John Sywilok. Hearing scheduled for 7/13/2021
                     at 10:00 AM at JKS – Courtroom 3D, Newark. (Attachments: # 1
                     Certification # 2 Exhibit # 3 Proposed Order # 4 Certificate of Service)
                     filed by Trustee John Sywilok) filed by James French on behalf of
                     TIAA, FSB, TIAA, FSB. (Attachments: # 1 Exhibit Exhibits # 2
                     Exhibit Exhibits) filed by Creditor TIAA, FSB, Creditor TIAA, FSB,
                     Creditor TIAA, FSB, 227 Objection to Trustee’s motion to approve
                     settlement (related document: 221 Motion to Approve Compromise
                     under Rule 9019 Filed by John Sywilok on behalf of John Sywilok.
                     Hearing scheduled for 7/13/2021 at 10:00 AM at JKS – Courtroom 3D,
                     Newark. (Attachments: # 1 Certification # 2 Exhibit # 3 Proposed
                     Order # 4 Certificate of Service) filed by Trustee John Sywilok) filed
                     by Michael S. Kopelman on behalf of Kopelman & Kopelman LLP.
                     (Attachments: # 1 Exhibit A) filed by Attorney Kopelman & Kopelman
                     LLP) filed by Scott S. Rever on behalf of Barry Roy Donaldson.
                     (Attachments: # 1 Exhibit A) filed by Creditor Barry Roy Donaldson)
                     filed by Michael S. Kopelman on behalf of Kopelman & Kopelman
                     LLP. (Kopelman, Michael) (Entered: 07/16/2021)
07/16/2021    235    Certification of Service (related document: 233 Response filed by
                     Attorney Kopelman & Kopelman LLP, 234 Response filed by Attorney
                     Kopelman LLP) filed by Michael S. Kopelman on behalf of Kopelman
                     & Kopelman LLP. (Kopelman, Michael) (Entered 07/16/2021)
08/05/2021    236    Response to (related document: 221 Motion to Approve Compromise
                     under Rule 9019 Filed by John Sywilok on behalf of John Sywilok.
                     Hearing scheduled for 7/13/2021 at 10:00 AM at JKS – Courtroom 3D,
                     Newark. (Attachments: # 1 Certification # 2 Exhibit # 3 Proposed
                     Order # 4 Certificate of Service) filed by Trustee John Sywilok) filed
                     by Michael S. Kopelman on behalf of Kopelman & Kopelman LLP.
                     (Attachments: # 1 Exhibits) (Kopelman, Michael) (Entered:
                     08/05/2021)
08/18/2021    237    Order Granting Motion to Approve Compromise under Rule 9019.
                     (Related Doc # 221). Service of notice of the entry of this order
                     pursuant to Rule 9022 was made on the appropriate parties. See BNC
                     Certificate of Notice. Signed on 8/18/2021. (zlh) (Entered: 08/18/2021)
                     Transcript regarding Hearing Held 07/27/2021 (related document:
                     Hearing Held). (Tracy Gribben Transcription) (Entered: / /2021 )

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08/18/2021        239     Notice of Appeal to District Court. (related document: 237 Order on
                          Motion to Approve Compromise under Rule 9019). Fee Amount $298.
                          Filed by Michael S. Kopelman on behalf of Kopelman & Kopelman
                          LLP. Appellant Designation due by 09/14/2021. Transmission of
                          Designation Due by 09/30/2021. (Attachments: # 1 Exhibit Doc 237)
                          (Kopelman, Michael) (Entered: 08/31/2021)


B. STATEMENT OF THE ISSUES TO BE PRESENTED ON APPEAL

       1.     The Bankruptcy Court lacked jurisdiction to approve the settlement between

the Chapter 7 Trustee and Creditor Barry R. Donaldson. (“The Settlement”).

       2.     The Bankruptcy Court should not have approved the settlement until the

Trustee obtained an order approving the sale of Debtor’s home and a closing on such

approved sale occurred.

       3.     The Bankruptcy Court should not have approved the settlement because there

was only a de minimus difference between the proposed settlement and the settlement

between the Debtor and Barry R. Donaldson set forth in the order confirming plan of

reorganization entered 12/2/2020 (Doc 173) which was already on appeal.

       4.     The Bankruptcy Court should not have approved the settlement because it

violates the absolute priority rule.

       5.     The Bankruptcy Court abused its discretion by approving the settlement

because it should have adjourned the Trustee’s motion to approve settlement until such time

as closing on Debtor’s home had taken place and the net proceeds on hand determined.

       6.     The Bankruptcy Court erred by not addressing the four criteria set forth in In re

Martin, 93 F.3d 389 (3d Cir. 1996).



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       7.     The settlement did not satisfy the first criteria set forth in In re Martin, 93 F.3d

389 (3d Cir. 1996) - - the probability of success in litigation - - because Donaldson is an

unsecured creditor as a matter of law.

                                                    Respectfully submitted,

                                                    KOPELMAN & KOPELMAN LLP
Dated: September 1, 2021                            BY: /s/ Michael S. Kopelman
                                                    Michael S. Kopelman, Esq.




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